Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 1 of 49
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                              UNITED STATES DISTRICT COURT                          g,i
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   ln Re: Requestform BrazilPursuantto the
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                                                                                                :
   Treaty Betw een the G overnm entofthe United
   States ofA m erica and the G overmnentofthe
   Federative Republic ofBrazilon M utualLegal
   A ssistance in Crim inalM attersin the M atterof
   A rturo Jose Sosky Brudner


       M EM O M N DU M O F LA W IN SU PPO RT O F A PPLIC ATIO N FO R O RD ER TO
                              A PPO IN T C O M M ISSIO NE R

          The United States is seeking an order appointing a person as a com m issioner to collect

   evidence requestedby Brazilin itsattached treaty request(theddRequest')madepursuanttothe
   Treatv Betw een the G ovenzm ent of the U nited States of A m erica and the G overnm ent of the

   Federative Republic ofBrazilon M utual LeaalA ssistance in Crim inal M atters,U .S.-Braz.,O ct.

    14,1997,S.TREATY DOC.NO.105-42(1998)(theTreaty),and 18U.S.C.53512.
          The PresentRequest

           The CentralA uthority forBrazilpursuantto Article 2 ofthe Treaty m akesthisRequestin

   connection w ith a crim inalinvestigation. Specifically,the M inistry of Justice, Departm ent of

   AssetsRecovery,Brazil,isinvestigatingArturoJoseSoskyBnldner(Bnldner)fortaxevasion.
          A ccording to Brazilian authorities,on January 26, 2005,Brudner adm itted to Brazilian

   autholities thathe had a bank accountatLloyds Bank in M iam i,Florida,and had failed to report

   the existence ofthis accountto the Central Bank of Brazil,as required under Brazilian law .

   Shortly after confessing, Brudner fled Brazil. Using forensic experts, Brazilian authorities

   continued that Brtldner was in fact the registered holder of account number 11030607 and
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   25016970 at Lloyds Bank in M iam i,Florida. M oreover,Brazilian authorities established that

   Brudnerhad opened these accounts in 1997 and thatthey received deposits every D ecem ber 31,

   betw een 1999 and 2008.

          Pursuant to the facts in the Request, the Brazilian authorities asks for assistance in

   obtaining bank records detailing the account balance of the Lloyds Bank accounts for 1999

   through 2008.

          Federalcourts,pursuantto the Treaty,statute and theirinherentauthority,m ay issue orders

   as m ay be necessary'for the production of the evidence requested by Brazil including orders

   appointing a person asa com m issionerto gathersuch evidence and establishing theproceduresfor

   the production ofsuch evidence.

          Authority to Execute the Reguest

                   The Treatv

          A treaty constitutesthe law ofthe land. U .S.Constitution ArticleV l. Theprovisionsofa

   treaty have equalfooting w ith acts ofCongressand arebinding on the courts. A sakura v.Citv of

    Seattle.W ashinglon,265U.S.332,341(1924),
                                            .UnitedStatesv.ThePea/v,5U.S.103(1801),
                                                                                  *lq
   re Commissioner's Subpoenas,325 F.3d 1287,1291(11th Cir.2003). To the extentthatthe
   provisionsofa treaty are inconsistentw ith a preexisting statutory provision,the treaty supersedes

   thestatute. Zschernizsetal.v.M iller.Administrator.etal.,389 U.S.429,440-441(1968).
                                                                                     ,lnre
    Commissioner'sSubpoenas,325F.3d 1287,1305-1306(11thCir.2003)*
                                                                ,United Statesv.Erato,2
    F.3d l1,15-16(2dCir.1993).
          The United States and Brazilentered into the Treaty for purposes of &t...desiring to

    improvetheeffectivenessofthe1aw enforcem entauthoritiesofboth countriesin theinvestigation,

   prosecution,and prevention ofcrim e through cooperation and m utuallegalassistance criminal
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 3 of 49




   m atters.'' Pream ble to the Treaty. See LetterofSubm ittalto the Presidentfrom the D epartm ent

   of State, October l4,         In accordance w ith the provisions of the Treaty, each State is

   obligated to provide m utual assistance to the other in colm ection with the investigation,

   prosecution, and prevention of offenses, and proceedings related to clim inal m atters. A rticle

   1(1)*
       ,ln re Commissioner's Subpoenas,325                    1290 (11th Cir.2003). Each state
   contemplatedthatitwould providetheotherwith assistancegenerallycomparabletothatwhich is

   available to its own law enforcem entauthorities,which assistance includes taking testim ony or.

   statem ents of persons, providing documents and other evidence, and imm obilizing

   criminally-obtainedassets. Article 1(2),
                                          .Ban-v.U.S.DepartmentofJustice,645 F.Supp.235,
   237(E.D.N.Y.1986),afpd,819F.2d25(2dCir.1987).
          The Treaty and 18 U.S.C.j 3512 empowerfederalcourtsto execute treaty requestsin
   orderto com ply w ith the United States'treaty obligationsand contem platesthatfederalcourtsw ill

   usecompulsorymeasurestoexecutesuchrequests. Article5(1)provides'
                                                                  .
          ''The Courts ofthe Requested State shallissue subpoenas,search warrants,
          orotherordersnecessary to execute the request.'t

   The treaty contem plates that the federal courts will use com pulsory m easures to execute such

   requests. Article8(1)provides:
          ttA person in the Requested State from w hom testim ony or evidence is
          requested pursuantto thisTreaty shallbecom pelled,ifnecessary,to appear
          and testify orproduce docum ents,records,oritem s.''

           The Treaty im poses no dual crim inality requirem ent as a precondition for providing

    assistance. Consequently,each state party isobligated to provide assistance withoutregard to

    whethertheconductunderinvestigation orprosecution would constitutean offenseunderthelaw s

    ofthe Requested State,exceptas othelwise provided by U.S.law. See page (v),Letter of
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 4 of 49




   Subm ittalofTreaty to the President,O ctober 14,1997.

                  Statutorv A uthority G roundina Execution ofRequests forA ssistance

          The Treaty isdesigned to be self-executing and requiresno im plem enting legislation. See

   page(v),LetterofSubmittalofTreatyto thePresident,Octoberl4,1997;lnreCommissioner'
                                                                                   s
   Subpoenas,325F.3d 1287,1291(11th Cir.2003). However,becausetheproceduralprovisions
   in m any treatiesare m inim al,in the pastfederalcourtsroutinely utilized proceduresauthorized by

   28U.S.C.51782(the'dcommissioner'process)toexecutetreatyrequestsfrom foreignauthorities.
   lnreCommissioner'sSubpoenas,325F.3d 1287,1305-1306(11th Cir.2003). SubstantiveU.S.
   1aw regarding searches,seizures and other com pulsory processes further g'
                                                                            rounded the execution

   of such assistance requests.

          O n October 19,2009,the Presidentsigned the Foreign Evidence RequestEfficiency A ctof

   2009 (PublicLaw ll1-79),enacting 18U.S.C.5 3512,thefulltextofwhich isattached forthe
   convenience ofthisCoul'
                         t. Section 3512 explicitly authorizes a federalcourtto:

            . . .issue such orders as m ay be necessary to execute a request from a
           çt

           foreign authority for assistance in the investigation or prosecution of
           crim inal offenses,or in proceedings related to the prosecution ofcrim inal
           offenses, including proceedings regarding forfeiture, sentencing, and
           restitution.''

   Section 3512 directly em pow ers the federalcouz'tsto execute such requestsand separately codifies

   under Title 18 the longstanding practice and procedures em ployed by the United States and the

    federalcourtsto execute requestsby foreign authoritiesforassistance to the fullestextentpossible

    under U.S.law . Congress enacted Section 3512 to m ake it i'easier for the U nited States to

   respond to these requests by allow ing them to be centralized and by putting the process for

    handling them within a clearstatutory scheme.''155 CONG.REc.56,810 (zoogltstatementof

    Sen.W hitehouse).
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 5 of 49




          Execution ofForeign Requests forA ssistance Underthe Treaty and Section 3512

                  A uthorization ofthe Application to This Court

          Section 3512 provides:

          ttupon application, duly authorized by an appropriate official of the
          DepartmentofJustice,ofanAttorneyfortheGovernment,aFederaljudge
          m ay issue such orders as m ay be necessary to execute a request from a
          foreign authority for assistance in the investigation and prosecution of
          clim inal offenses,or in proceedings related to the prosecution of crim inal
          offenses, including proceedings regarding forfeiture, sentencing and
          restitution.''

   Forpulposes of Section 3512,an application is S'duly authorized by an appropriate officialofthe

   D epartm entofJustice''when the D epartm entofJustice,Crim inalD ivision,O ffice oflnternational

   Affairs,hasreviewedandauthorizedtherequestand isexecutingtherequestitselforhasdelegated

   the execution to another attom ey for the governm ent. In this m atter, such authorization and

   delegation isevidenced by a letterdated M ay 2,2016 from the DepartmentofJustice,Crim inal

   D ivision,O ftice oflnternationalA ffairs,received by the U nited States A ttorney,transm itting the

   R equestto thisdistrictfor execution.

          Section35l2(c)authorizesfilingtheinstantapplicationinthisdistrict,wherethemajority
   ofthe evidence is located.

                  Foreign A uthority SeekinM A ssistance W ithin Section 3512 and the Treaty

          Astothedlforeign authority''makingtheRequest,Section35l2(h)provides:
          tç-
            l'heterm ''foreignauthority''meansaforeignjudicialauthority,aforeign
          authority responsible for the investigation or prosecution of crim inal
          offenses orforproceedings related to the prosecution of crim inaloffenses,
          or an authority designated as a com petentauthority orcentralauthority for
          the pup ose of m aking requests for assistance pursuantto an agreem entor
          treaty w ith the U nited States regarding assistance in clim inalm atters.''

    ln thism atterthe M inistry ofJustice,Departm entofAssetsRecovery,isthe designated Central
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 6 of 49




   A uthority in Brazilforrequests m ade pursuantto the Treaty.

          A sevidenced by the Requestitselfand confinned in theauthorization processand again by

   theundersigned,consistentwith Section 3512(a)(1),theforeignauthorityseeksassistancein the
   investigation orprosecution of crim inal offenses or in proceedings related to the prosecution of

   clim inaloffenses.

                  A utholity ofthe FederalCourtsUnderSection 3512.

          W hen enacting Section 3512,Congressintended thatfederalcourtsfacilitate to thefullest

   extentpossible the execution ofrequests by foreign authorities for assistance in crim inalm atters

   and endeavored to stream line and expedite the execution of such requests. Section 3512

   authorizes federal courts to issue ''such orders as m ay be necessary to execute a request''and

   specifically includes: orders for search w arrantspursuantto FederalRule ofCrim inalProcedure

   41;orders forstored wire orelectronic com m unications and related evidence under l8 U .S.C .

   52703,
        .ordersforpenregistersandtrap andtracedevicesunder18U.S.C.93123,
                                                                       .ordersforthe
   provision oftestim ony or a statem entorthe production ofdocum ents orotherthings,orboth;and

   orders appointing d1a person''to directthe taking oftestim ony or statem ents orthe production of

    documentsorotherthings,orboth;18U.S.C.13512(a)(1),(2).
           The assistance requested by Brazil pursuant to the Treaty by its M inistry of Justice,

    Departm entofA ssets Recovery,in the instantRequestfalls squarely w ithin thatcontem plated by

   both the Treaty and Section 3512.

    D.     A ppointm entofa Person asCom m issionerto CollectEvidence

                  Statutory A uthorization.

           Section 3512(b)providesthatafederaljudgemay '
                                                       dissueanorderappointing aperson to
    directthe taking oftestimony orstatementsoroftheproduction ofdocumentsorotherthings,or
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 7 of 49




   both.'' The statute further authorizes the person appointed to issue orders, requiring the

   appearance of a person,the production of docum ents or other things,or both;adm inister any

   necessary oath; and takes testim ony or statem ents and receive docum ents or other things.

          Commensuratewith pastpracticeunder28 U.S.C.â l782,itisanticipated thatafederal
   court w ould appoint an attorney for the governm ent, typically a federal prosecutor, as

   ''Com m issioner.'

                 Procedures forEvidence Collection

          Section 3512(a)specifically empowersa federaljudgeto issue 'lsuch ordersasmay be
   necessary'' to execute the request. This authorization encom passes orders specifying the

   proceduresto beused to collectparticularevidence,including proceduresrequested by the foreign

   authority to facilitate its lateruse ofthe evidence. ln executing a requestm ade pursuantto a

   treaty,a courthas the obligation to prescribe effective and expeditious procedures designed to

   prom ote the pulTose Ofthe treaty. See ln re Com m issioner's Subpoenas,325 F.3d 1287, 1305

   (11thCir.2003). NothinginSection 3512suggestsanylimitationonacourt'spowertoexercise
   ''com plete discretion in presclibing the procedure to be follow ed''asw asavailable under

   28U.S.C.: 1782. ln re:LetterofRenuestfrom the Crown Prosecution Selwice ofthe United
   lfinxdom,870 F.2d 686,693 (D.C.Cir.1989),citing 1964 U.S.C.C.A.N.at3789. SeeW hite
   v.NationalFootballLeacue-etal.,41F.3d402,409(8th Cir.1994),cert.denied,
    515 U.S. 1137 (1995) (a courtmay issue whatever process itdeemsnecessary to facilitate
    disposition ofamatterbeforeit),
                                  'FED.R.CRIM.P.57(b).
           a.     Procedures Authorized bv OtherStatutes.

           ln addition,Section 3512 referencesspecific U.S.lawsforobtaining certain evidenceand,

    by doing so,adoptsany statutorily mandated proceduresin relation to obtaining ordersforsearch
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 8 of 49




   warrants;orders for contents of stored w ire or electronic com m unications or for records related

   thereto;and orders for a pen register ora trap and trace device.

          b.      O rdersby the Person A ppointed'
                                                 ,Com m issioner Subpoenas

           Section 3512authorizestheddperson''appointed(here,and inpastpracticeunder
   28U.S.C.j 1782,the'ïcolnmissioner')toissueorders''requiring theappearanceofaperson,or
   theproductionofdocumentsorotherthingsorboth.'' Further,Article541)oftheTreatyprovides
   fortheissuance ofproceduraldocum ents,such assubpoenas,to gatherevidence:

          tt-f'
              he Courts ofthe Requested State shallissue subpoenas,search warrants,
          orotherordersnecessary to execute the request.''


           lfa federaldistlictcourtso orders,the Comm issioner may use the attached form ,still

   entitled ''Com m issioner's Subpoena,'' to obtain the requested evidence.             See In re:

   Commissioner'sSubpoenas,325 F.3d 1287,1291(2d Cir.1993)(incorporatinginpertinentpal't
   adistrictcourt'sorderdirecting useofcommissioner'ssubpoenasl;United Statesv.Erato,2 F.3d
    1l,13-14 (2d Cir.1993)(same). Thiscommissioner'
                                                  s subpoena is simply a version ofthe
    dlorder'' to be issued by the person appointed by the Court under Section 3512 to direct the

   production of evidence. Section 3512 expressly autholizes the senrice and enforcem entof such

   orders,or comm issioner's subpoenas,anpvhere in the United States (i.e.,coextensive with the

    serviceofsubpoenasinU.S.criminalinvestigationsandprosecutions).
           c.     N otice ofEvidence Taking

           A san initialm atter,thisapplication isbeing m ade ex parte,consistentw ith U .S.practice in

    its dom estic crim inalm attersand itspriorpractice on behalfofforeign autholitiesunder

    28U.S.C.5 l782. ln re;LetterofRequestfrom the Crown Prosecution SeniceoftheUnited
    Kinzdom,870 F.2d 686,688 (D.C.Cir.1989),
                                           .lnre:LettersRoaatoryfrom theTokw Distlict,
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 9 of 49




   Tokyo,Japan,539F.2d 1216,1219(9th Cir.1976). TheTreaty itselfcontemplatestheneed for
   confidentialitywithrespecttoal1aspectsoftheexecutionofrequests.Article545)provides:
          tû-l-he Requested State shalluseitsbesteffortsto keep confidentiala request
          and itscontentsifsuch confidentiality isrequested by the CentralA utholity
          ofthe Requesting State.''

          Therefore,in accordance w ith the requestby the CentralA uthority of Brazil,the U nited

   States requests that this Court's Order direct any individual or entity that receives a

   Com m issioner's Subpoena in this m atter to keep confidential the existence of the subpoena,its

   content,and the response to the subpoena.

           Both Section 3512 and theTreatyatArticle8(1)authorizeuseofcompulsoryprocessin
   the execution of treaty requests com parable or sim ilar to that used in dom estic crim inal

   investigationsorprosecutions. Because subpoenasutilized in U.S.criminalproceedings (i.e.,
   grandjury and criminaltrialsubpoenas)areissued withoutnotice to any party otherthan the
   recipients(i.e.,nonoticetotargetsordefendants),ordersandcommissioner'ssubpoenasissuedin
   execution of treaty requests pursuantto Section 3512 and the applicable treaty likew ise should

   require no notice other than to the recipients. ln the absence of a specific request to provide

    notice,U .S.authorities can assum e thata requesting foreign authority has provided such notice

    as the foreign 1aw requires,or thatforeign 1aw does notrequire notice and the requesting foreign

    authority doesnotconsidernotice to be necessary oruseful. Accordingly,a federaldistrictcourt

    should authorize a com m issioner to collect the evidence requested without notice to any party

    otherthan the recipientofthe com m issioner's subpoenaexceptto the extentthata requestasksfor

    specificnoticeprocedures.

                  Rightto FinancialPrivacy A ct

           The Right to Financial Privacy A ct, 12 U .S.C . cc 3401 et seq., does not apply to
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 10 of 49



    execution of foreign legal assistance requests. Young v.U .S.Dept.of Justice, 882 F.2d 633,

    639 (2d Cir.1989),cert.denied,493 U.S.1072 (1990);In re:Letter ofReguestforJudicia-l
    A ssistance from the TribunalCivilde Port-A u-prince-Republic ofH aiti,669 F.Supp.403,407

    (S.D.Fla.1987),
                  .In re:LettersofRequestfrom theSupremeCourtofHongKong,821F.supp.
    204,211 (S.D.N.Y. 1993). Consequently,to the extentthatexecution ofa requestentails
    production of bank or financial records, notice provisions of the A ct do not apply, and the

    com m issionerneed notgive,nor arrange forthe custodian ofrecordsto give,notice to an account

    holder. (NotethattheActitselfappliesonlytoaccountsmaintained inaperson'snameandnot
    to corporate,perhaps even partnership,accounts. U nited States v.D accarett,6 F.3d 37,50-52

    (2dCir.1993).)
                                               C onclusion

           The instant Request is exactly the type of request ccm tem plated for execution under

    Section 3512. ln itssequentiallegislative effortsrelevantto theprovision ofassistanceto foreign

    authorities,Congresshasintended thatthe United Statessetan exam pleto othernationsby m aking

    judicialassistancegenerouslyavailable.See.e.c.ln re:RenuestforAssistancefrom M inistrvof
    LecalAffairsofTrinidadand Tobago,848 F.2d 1151,1153-1l54 (1lth Cir.1988),cert.denied,
    488 U.S.1005 (1989). Section 3512enablestheUnited Statestorespond fdmorequickly ...to
    foreign evidence requests. These efforts w ill assist the United States w ith its investigations as

    foreign authorities w illbe urged to respond in kind to ourevidence requestsin a speedy m annen'
                                                                                                   '

    155CONG.REc.1410,093(zoogltstatementofRep.Schiff).
           A s to this Request,both the investigatory nature ofthe Request as described and the

    intentions of the foreign authority under the Treaty m ilitate that the application and order be

    m aintained underseal.
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 11 of 49




          A ccordingly,to execute this Request,the U nited States m oves this Court to issue the

    attached proposed orderpursuantto theTreaty and 18 U.S.C.5 3512 appointingtheundersigned
    A ssistant U nited States A ttonzey as Com m issioner, authorizing the undersigned to take the

    actions necessary,including the issuance of comm issioner's subpoenas,to obtain the evidence

    requested,to adoptsuch proceduresin receiptofthe evidence asare consistentwith theintended

    use thereofin Brazil,and sealing the application and orderuntilfurtherorderofthis Court.

           W herefore,theUnited StatesrequestthattheCourtentertheproposed order.



                                                  Respectfully subm itted,


                                                  W IFRED O .         ER
                                                  U N1    STA T       TTO RN EY


                                           ;                             z
                                         - .-
                                                ---sro e c . atson
                                                   A istantU ' States Attorney
                                                   Co      o.A 5501844
                                                   99 N E 4'
                                                           h Street, 4thFloor
                                                   M iam i,FL 33132
                                                  Telephone: (305)961-9070
    oated,$q tk                                   Email: Brooke.W atson@ usdoj.gov
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 12 of 49




                               UN ITED STATE S D ISTRIC T C O U RT
                               SO U TH ERN D ISTR ICT O F FLO RIDA

                               CA SE NO .          -
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                                                                                SOOLE
    States ofAm erica and the G overnm entofthe
    Federative Republic ofBrazilon M utualLegal
    A ssistance in Crim inalM attersin the M atterof
    A rturo Jose Sosky Bnzdner




                                               SAM PLE

                                  C O M M ISSIO N ER 'S SUBPO ENA



    TO :




           1,Com m issionerBrooke C.W atson,an A ssistantUnited StatesAttom ey forthe Southem

    DistrictofFlorida,acting pursuantto the Treatv Between the G overnm entofthe United States of

    A m erica and the G overnm entofthe Federative Republic ofBrazilon M utualLeaalA ssistance in

    CliminalMatters,U.S.-Braz.,Oct.14,1997,S.TREATY DOC.NO.105-42(1998),18U.S.C.1
    3512,and this Court's orderthereunderdated                        ,forthe purpose ofrendering

    assistance to Brazil,com m and thatyou appearbefore m e in Room         ,in the building located at

                                         in the city of                          ,in the state of

                                                 at       AM /PM to provide testim ony/docum ents

    regarding an alleged violation of'
                                     .
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 13 of 49




    the law softhe Republic ofBrazil,nam ely,tax evasion,and am ong otherviolaticms,and thatatthe

    place and tim e aforesaid you provide the following:

    Iidentifydocumentsetc.tobeproducedl
           FOrfailure to attend and provide testim ony/said docum ents,or fordisclosure ofthe

    existence ofthe subpoena,you m ay be deem ed guilty ofcontem ptand liable to penalties under

    the law .


                                                Com m issionerBrooke C .W atson
                                                A ssistantUnited StatesA ttorney
                                                CourtN o.A 5501844
                                                99 NE 4th street, 4th Floor
                                                M iam i,FL 33132
                                                Telephone: (305)961-9070
    D ated:                                     Email:Brooke.W atson@ usdoj.gov
Case 1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 14 of 49

                                                                               tz

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                                                                    '
                                                                    '.              %



                                                      MINISTRY OFJUSTICE
                                                NATIONALSECRETARIATOFJUSTICE                               .                         .
                         DEPARTM ENTOFASSETSRECOVERY AND INTERNATIONAL LEGAL ASSISTANCE
                                    GENERAL-COORDINATION OPASSETS RECOVERY

             OfficialLetler#.255/2016/CGRA-DRCl-SN J-M J
                                                                                                      Brasflià, Jarmarl- 1jth,2p16.
                                                                                                                       - L-RGENT-
                                                                                                              -CO NFIDENTI      AL-
         .   Director .
             Ox ce oflntem ationalAffaifs- Crim inalD ivision
             Depare entofJustice,13001/IA/CRM

                 20530 - W ashington D.C.
                  .




                 Subject:MutualLegalAssistaneeinCnminalM attersbetweenBrazilandthe nitedStates
                 ofAm ericain thematterofBanestado(ArturoJoséJoskyBrudner).
                 Otzrreferpnce:2:15/04441

                               De# M adam,
             .
                 1.            ln thc capacity of CeptralAuthority dtsignated in the M utual LegalAssise ce
                 Treaty in CriminalM attvrsbetween the Govem m entofthe Federative Republic ofBraziland the
                 Governm entof the United Statej of Americar besides'the United Nayions Convention againsl
                 Com lption and theUnited NationsagainstTransnationalOrganized Crime,m'ehereby iransmit
             the attachtd requestformutuallegalmssiKtnnc.e in criminalmattersmising Aom the Police
             lnvestigation #303/2007-DPF/FlG*R,unberFayattheFederalPoliceDepartmentin Fozdo
                 lguaçu,State ofPnranâ.
                          .           b


                 2.            This requestaims,at obtnining the bmnt qecords of Llpyd éank accounts in
                 M iami/rloridw lmderthename ofArtttro José Josky Brudner,bee een 1999 and 2009.M r.
                 Brudnerisbeing investigated fortax evasion.                                                                             '
                                                '
                 3.           Furtherm ore,the com petentauthorities asked conndintiality and urgency irtthis
                              '

                 requestexecution.
                                                                                               ;> '   op               . .
                                                                .                           z.j. ?.::   t
                 4.            Please do nothesitateto contacttlsshould youneed any clàrific---a.tlon.qn
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                                  Sincerely,
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                                                       Deputy Coordinator                                      ''
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                         SCN Qd.06,Conj.A,Bl.A,z'Wndar-EdificioVenMcio3000.Bmsilia-DF.CEP-70716-900
                          Telefone:                 Fa :                                    E-mail:
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                           REQUEST FOR LEGAL ASSISTANCE IN CRIMINAL'MAU ERS
                                                                      ..                 N



              CONFIDENTIAL Procedure? (No!e:incàseçonfdenti           al
                                                                       ityrequirement:forthi
                                                                                           sinternationalI
                                                                                                         egal.
              cooperati:nrequestarenbtinformed,thepartie-smayhakeaccesstoitsçontentuponrequest,inaccordanci
              wi
               th FederalLaw no 12.
                                  527/2011.Furthermore,in case this requestbecomes classi
                                                                                        fied by deci
                                                                                                   sion ofthe .
              Requesti
                     ngStateinthecourse'ofthecrimi
                                                 nalprdcedure theDRCIshallbeimmedi
                                                                                 atelyinformed). ''                                  .

              gjj vss
           '
                      .



              EZ No   .
                                '




               Do Fequested and Requesting States borderepchother?
                  t       YES
                            .



          . y             NO

               1.         Reqpested State:United States ofAmerica Departm entofJustice.
          .
               k. Réquesting state:DepartmentofAssets Recovery 4nd Internati6nalLe'         gal
               cooperation -DRc1,'NationalSecretariatofJustice -M inistry ofJustice ofBrakil. '
                            *                                    ''                                    '
              ,
               3.         Subject:Fequestforjudicialassistance in èriininglmatters according to
               Decree no 3.810/2001,which enacts The Treaty between fhe Governmeqt ofthe
               UnitedStatesoiAmericaandtheGovernmeptoftheFéderativeRepublicofBrazil
          '    ùn MutùalLegalAssistance inCriminalMàtters,si
                                                           gnedonOctober14,199
                                                                             .-
                                                                              /.
               4.         Reference:Police lnvestigation n?303/2007-DPF/FIG/PR.

               5.         Sum m ary:
               The balance ofthe eccountoh the Iast.day ofeach yearbeing investigated,
               that is frbm 1999 through 2009, is nepetsary in order to determine the
               matèriality ofth: crile described by'the article 22,sple paragraph,of Law
               7492/86.                ,                                                           '
              '
               6.         Facts:                                                             ./
                                                                                               '   '       '                     '
                                              '      .
                  .                                          .

                          This request refers to thewcurrent poljçe investigation no 303/2007-
               DPF/FIG/PR,opened onApril4tb,2007 to investi gate unreùoded '
                                                                           remittance of
               currbncycommitted bythè Paraguayan citizenARTURO JOSé JOSKY BRUDNER
               (whoholdsfiscalresidehc: inBrazilandParaguay).Inthe couryqoflnkestijation
               n@ I7i/O3eDPF/PPA/MS,ARTURO BRUDNER declared in his statement,on
                                                                                                               '
                                                   1l@1.'.2Li?luk-);1?u.
                                                                       '1)1312:,'!Sh1)                     jhiit:irl11.1 !' L#
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              January 26th, 2005, being the holder of a bank account in Lloyds Bank in
              M iami/usA,notreported to the CentralBankofBrazil.

          t
              Uptothismoment,ARTURO JOS:JOSG BRUDN/R hasnotbeeqlocàted.
                                                                    #                         .
              The police investigatiqn wàs launched in the city.ofFoz do Iguaçu/pR,with the
              pumose ofestabli
                             shing thp existtnce!origin and lawfulness oîthe funds in his
              bank accountin the Lloyds Bank lnvM lami,considering thatARTURO declared to
          '
              be Iiviig in'Foz do lguaçti/pR,a:his lastfiscalresidence in Brazil,where he also
              declared to have a banking account in Banco do Brasil and have formed a
              Com pany.               '

              A requeslformutuallegalassistance was issued so that!he Uni
                                                                        ted States of
              America could provide financialrepbrts ofaIIARTURO JO SE SOSKY BRUDNER
              banking accountssinçe 1996,etpeéiallythe one held inthe LloydsBân'kin Miaini.
              In regards to this Sequest,the DepaA entofAssets Recovery and Internatiopal
              LègalCooperatign-DRCI,throughtheOfficialLettern/2753/2009/DRCl-SNJ-MJ,
              repoded the reglstrie?provided by the Americah srrancialinstitution.
              Theforensicexpe-
                             rts (throuihthe financialanalyses intpe reportnO0991/2011-
              NUTEC/DPFJFIG/PR),have veri
                                        fied thatARTURO JOSE SOSKY BRUDNER is
                       r Iong with
                            (Iate co-holders)ofbanking account no               and investiment
              accourit nl            b0th in Lloyds Bank.The accounts were open in 19*
                                                                                     97.
              Accordingtotheexperts,the*bankinj accountstatementscomprehendthe period
              from January 1&t,1949 thiough Apnl18t
                                                  > 2008,th: statements referring to the
              perjod ofJanuary lst,1999through December31St,2005 do notshow anyfunds.'
              However,the documentation provided to the expeds did notshow the balance on
              the Iabtday ofeach year.
                            r
              '
              In Jujy 4tj, 2011 a wai  ver of bankin secrec for ARTURO JOSé SOSKY
              BRUDNER,
              w as. 5I
                     ed in Lloyds Bank in Miam i,with the purpose of obtaining com plim entary
              documentaqtion, esrv ially state'
                                              m ents shpwing the balqnce of the mentioned
              accountsonthe Iastdpyofeachyear,from 1999through2009ê'
                  ,


              7-he 3k Federal criminalcoud in curitiba/pR acceptéd the waiver of banking
              secrecf,extendingthebreachoffiscalsecrecypreviouslyadmitteduntil2009.
              The Brazilian InterrplRevenue bqanch in Brasilia has informed thatthere are '
                                                                                          no
              intemalsscalproceduresrelatedtoARTURO JOS: SOSKY BRUDNER. 6 '
              The Brazilian CentralBank (BACEN)has'infdrmed thatARTURO JOS/ SOSKY
              BRUDNER didnotsubmittheRehortbnBrazi     lianFundsLocatedOverseasduring
              theperiodof2001 and2005 (itshould be highliphted thatVthe declaratignofgoods
              and values Owped abroad has been reqqired by the Resolution CMN nO 2911 of
              Novembet2F5,200$and L/tterno3071ofDecember7th,20013.
              lnsum mary,the currentinvestigation aim s atestablishing whetherARTURO JOS;
                                                                        .
              SOSKY BRUDNER held deposi      ts in Lloyds Bank in the USA notinforming tie
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              Centr'alBank and lnternalRevenue such financialassets (falling into article 22,
              sole paragraph,ofLaw 7492/86).
              The offenders des'
                               cribed by the article 22, sole paragraph,of Law 7492/86 are ;
              individualsand/orcompanies based in Brazil.ARTURO isregisteredàtthe lntemal
              Revenue System (Cadastro de Pesyoa Ffsica - CPF)underhumber155.850.421-
          '   49.Nètwithstanding ARTURO being a Paraguayàn cittzen and,as he declared,
              residentin Assunç-  ao - Paraguay,he submitted the 2003 InternalRekenue Form
              inform ing his address ps being Aveni
                                                  da Repûblica Argentina,no3555,Cam pos do
              lguaçu,Foz do Iguaçti/pR,Brazil.          '

              So farth: knownfactsare asfollows:
                         '
                             1           '   .

                    1.'The forei
                               gn àccountexists;
                '
                    2.The investigated indi
                                          vidualis the owner along with his sister and Iate
                      m other'                                                              '
                    3. The acçountwa: created in 1997*
                                                     ,
                    4.The snancialfundsheléinthementionedaccountwerenotdeclaredtothe
                      centraleanknorthe InternalRevenue.

              7.Law transcription:Article 22,sole paragraph ofLaw 7-492/86:
                      ArticIe 22 -Perfprm an unauthorizèd exchange op:ration with the pumose of
                                 .

                      promoting unrepoded rem ittance ofcurrency from Brazil.

                      Sole paragraph.The same penalty shallbe applied to whom everunderany
                      pretense;and withoutan9 Iegalauthorization,promotes the remittance of
                      money orforeign currency abroad,ormaintains in a foreign countfy deposits
                      unreportédtothe competentfederalaulhori
                                     ,
                                                            ty.    '



                      Penalty- imprisonmentfor2 (two)to 6 (six)yearsand asne.

              8.Reque ted assistance:

                       Proceedino            -.                            Requirements


                       Breachofbanksecrecyand                              Bank:LloydsBankipMianii/u#A
                       obtaining ofbank documents:                        Add
                                                                           '
                                                                                 ress:
                                                                           M iam l,Florida,3313
                                                                           Banking Accountnumber
                                                                           Inveslmentaocountn#
                                                                           Accounthplder:ARTURO JOSé
                                                                           SOSKY BRUDNER DoB                        e
                                                                           Co
                                                                           an

                                                  l1.1. 'f? fS1)e.'1ï ..$t,.It;J:'.'f?/'        ê'Jî;!r;;J t l ?k
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                                   -   '                                    Inform ation reques
                                                                                              'ted:Balance of
                     .                                                      banking and investm entaccounts on
                                                                            theIzstday(Deceinber31st)ofeach
                                                                            yearfrom 1999 until2009- in digital
                                                                .
                                                                    '       m edia.
                                                                        lnprdertoprovetheexjstencéof
                                                                            unre'portpd rem ittance ofcurre'
                                                                                                           ncy is
                     '
                                                                            neceysaryto provethatARTURO
                                                                            JOSE SOSKY BRUDNER held on'the
                                                                            lastday ofèach yearbetween 1999
                                                                            and 2009 funds in foreign bank
                                                                            aècouhts notdeclared to theInternal
                                                                            Revenue.and CentralBank of Brazil.
                                                                        '
                                                                            S:ntence from the 3* FederalCourtin
                                                                            Curitiba originatedsfrbm the
                                                                            investigation IPL 0000255-
                                                                            382012.404k7000/PR.TheCourtis
                                                                            specializedin /inancialCrimesand
                                                                            MoneyLatlndering,authbrizing,
                                                                            therefore,the breachofbankand
                                                                            fiscalsecrecy ofthe investigated
                                                                            individual.


              9. Purpùàe of the request: ldentify fu'nds held in banking and investment
          '   accountsinLloydsBanqofMiami
                                        /EuA,intheperiodof1999through2009,whose
              ownerisARTURO JOSE JOZKY BRUDNEk1in ordertpestablishthe materialiT of                    .

              unreport:à remittànce bfcurrency,since the ownerdid notdeclarq suchfundsto
              the CentrMlBank ofBraziland to the internalRevenue,as obliged by Law.

              10.Procedurés to be obgel ed:
                 a)Aqtionsshallbetakepwithoutthe knowledge oftheinvestigated individuals.
                 b)ltis requested thatthe information shallbe proyidçd.
                                                                      in magnetic media,to
                 Pake the analyses easier.
                                                                                              2    .       .

                 c)Itisalso requestedthe consentofthe CentàalAuthority ih Unjted Siates for
                 the infprm ation provided to be used in furth:r investigations, in case qew
                 evidences arispfrom the information.
                 '       '                               .
                     ..



                                                                                      '
                                           .   ,.
                                       Foz do Iguaçû - October27th 2015



                                       RAFAELLA VIEIRA LINS PARCA
                                           FederalPolice Comm i
                                                              ssioner

                                            l'>t I11 1.';:J111*/51
                                                                 kL.
                                                                   ''!.7E>ELt
                                                                            l1è15*        '
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Case
X    1:16-mc-21816-MGC Document 4 Entered on FLSD Docket 05/20/2016 Page 20 of 49




    United StatesC ode Effective:O ctober 19,2009
    Title 18.Crim es and Crim inalProcedure
    PartI1.Crim inalProcedure
    Chapter223.W itnessesand Evidence
    5 3512.Foreign requestsforassistance in crim inalinvestigationsand prosecutions

    (a)Executionofrequestforassistance.--
    (1)ln general.--uponapplication,dulyauthorizedbyanappropriateofficialoftheDepartmentof
    Justice,ofan AttorneyfortheGovernment,aFederaljudgemayissuesuch ordersasmaybe
    necessary to execute a requestfrom a foreign authority forassistance in the investigation or
    prosecution ofcrim inaloffenses,orin proceedingsrelated to the prosecution ofcrim inaloffenses,
    including proceedingsregarding forfeiture,sentencing,and restitution.

    (2)Scopeoforders.--AnyorderissuedbyaFederaljudgepursuanttoparagraph (1)mayinclude
    the issuance of--

    (A)asearchwanunt,asprovidedunderRule41oftheFederalRulesofCriminalProcedure;
    (B)awarrantororderforcontentsofstoredwireorelectroniccommunicationsorforrecords
    related thereto,asprovided under section 2703 ofthistitle'
                                                             ,

    (C)an orderforapenregisterortrap andtracedeviceasprovidedundersection3123ofthistitle;
    or

    (D)an orderrequiringtheappearanceofapersonforthepurposeofprovidingtestimonyora
    statem ent,orrequiring the production ofdocum ents orotherthings,orboth.

    (b)Appointmentofpersonstotaketestimonyorstatements.--
    (1)lngeneral.--lnresponsetoanapplicationforexecutionofarequestfrom aforeignauthodtyas
    describedundersubsection(a),aFederaljudgemayalsoissueanorderappointingapersonto
    directthe taking oftestim ony or statem entsorofthe production ofdocum entsorotherthings,or
    both.

    (2)Authorityofappointedperson.--Anypersonappointedunderanorderissuedpursuantto
    paragraph(1)may--
    (A)issueordersrequiringtheappearanceofaperson,ortheproductionofdocumentsorother
    things,orboth;

    (B)administeranynecessaryoath;and
    (C)taketestimonyorstatementsandreceivedocumentsorotherthings.
    (c)Filingofrequests.--Exceptasprovidedundersubsection (d),anapplication forexecutionofa
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    requestfrom a foreign authority underthis section m ay be filed--

    (1)inthedistrictinwhichapersonwhomayberequiredtoappearresidesorislocatedorinwhich
    the docum entsorthings to be produced are located;

    (2)incasesinwhichtherequestseekstheappearanceofpersonsorproductionofdocumentsor
    thingsthatm ay be located in m ultiple districts,in any one ofthe distlictsin which such a person,
    docum ents,orthingsm ay be located'  ,or

    (3)inanycase,thedistrictinwhicharelatedFederalcriminalinvestigationorprosecutionisbeing
    conducted,or in the D istrictofColum bia.

    (d)Searchwarrantlimitation.--Anapplicationforexecutionofarequestforasearchwarrantfrom
    a foreign authority under this section,otherthan an application fora w arrantissued asprovided
    undersection 2703 ofthistitle,shallbe filed in the districtin w hich the place orperson to be
    searched islocated.

    (e)Searchwarrantstandard.--A Federaljudgemayissueasearchwarrantunderthissectiononlyif
    the foreign offense forw hich the evidence is soughtinvolvesconductthat,ifcom m itted in the
    United States,w ould be considered an offense punishableby im prisonm entform ore than one year
    underFederalor State law .

    (9 Serviceoforderorwarrant.--Exceptasprovidedundersubsection (d),anorderorwarrant
    issued pursuantto thissection m ay be served or executed in any place in the United States.

    (g)Ruleofconstnlction.--Nothinginthissectionshallbeconstruedtoprecludeanyforeign
    authority oran interested person from obtaining assistance in a crim inalinvestigation or
    prosecution pursuantto section 1782 oftitle 28,United StatesCode.

    (h)Definitions.--Asused inthissection,thefollowingdefinitionsshallapply:
    (1)Federaljudge.---
                      f'hetenus''Federaljudge''and ''AttonwyfortheGovernment''havethe
    m eaning given such term sforthe purposesofthe FederalRules ofCrim inalProcedure.

    (2)Foreign authority.--Theterm ''foreign authority''meansaforeignjudicialauthority,aforeign
    authority responsible forthe investigation orprosecution ofcrim inaloffensesorforproceedings
    related to the prosecution ofcrim inaloffenses,oran authority designated as a com petentauthority
    or centralauthority forthe purpose ofm aking requests for assistance pursuantto an agreem entor
    treaty w ith the United Statesregarding assistance in crim inalm atters.

    (Added Pub.L.111-79,j2(4),Oct.l9,2009,123 Stat.2087.)
    18U.S.C.A.j3512,18USCA j3512
    CurrentthroughP.L.1l1-86(excludingP.L.111-84)approved 10-29-09
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                 105TH CONGRESS                                            TREAW DOC.
                   2d Session                   SENATE                       105-42




                            TREAW W ITH BRAZIL ON M UTUAL LEGAL
                              ASSISTANCE IN CRIM INAL M ATTERS




                                             M ESSAGE
                                                  FROM

                   TIIE PRE8IDENT 0F THE                         ITED 8TlTE8
                                              TRANSM IW ING

                   TREATY BETW EEN TH E GOW RNM ENT OF THE UN ITED STATES
                     OF AMERICA AND THE GOVERNMENT OF THE FEDERATIVE RE.
                     PUBLIC OF BRAZIL ON MUTUAL LEGAL ASSISTANCE IN CRIMI.
                     NAL MATTERS,SIGNED AT BIW SILIA ON OCTOBER 14,1997




                                                    7




                   APRIL 28, 1998.-Treaty was read the first time and, together with the
                    accompanying papers, referred to the Com mittee on Foreign Relations
                    and ordered to be printed for the use ofthe Senate.


                                     U .S.GOVERNM ENT PRINTING OFFICE
                   59-118                   M'ASHINGTON :1998
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                                  LETTER OF TRAN SAHTTAL


                                               THE W HITE H ousE,April28,1998.
                 TotheSenateoftheUnited States.
                   W ith a view to receiving the advice and consentofthe Senate to
                 ratification,I transmit herewith the Treaty between the Govern-
                 ment ofthe United States of America and the Governm ent of the
                 Federative RepublicofBrazilon M utualLegalAssistance in Crim i-
                 nal M atters, signed at Brasilia on October 14, 1997. 1 transmit
                 also,for the inform ation of the Senate,the repoz'  t of the Depart-
                 mentofState with respectto the Treaty.
                    The Treaty is one ofa series of modern mutuallegal assistance
                 treaties that the United States is negotiating in order to counter
                 criminal activities m ore efrectively.The Treaty should be an effec-
                 tive toolto assist in the prosecution of a w ide variety of m odern
                 criminals, including those involved in terrorism , other violent
                 crimes?drug trafficking,m oney laundering,and other dtwhite-col-
                 lar''cnm e.The Treaty is self-executing,and will not require new
                 legislation.
                    The Treaty provides for a broad range ofcooperation in criminal
                 m atters.M utualassistance available under the Treaty includes:
                    (1) Locating or identifying persons or item s; (2) serving docu-
                 m ents',(3)taking testimony or statem ents ofpersons;(4)transfer-
                 ring persons in custody for testimony or other purposes' ,(5)provid-
                 ing docum ents, records, and items'    , (6) executing requests for
                 searches and seizures;(7)assisting in proceedingsrelated to im mo-
                 bilization and forfeiture of assets, restitution, and collection of
                 fines; and (8) any other form of assistance not prohibited by the
                 lawsofthe Requested State.
                    I recomm end that the Senate give early and favorable consider-
                 ation to the Treaty and give its advice and consentto ratification.
                                                             W ILLIAM J.CLINTON.




                                                 (111)
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                                    LETTER OF SUBM ITTA L


                                                      D EPARTMENT OF STATE,
                                                                   W ashington.
                 The PRESIDENT,
                 T#c W hiteHouse.
                   THE PRESIDENT:lhave the honor to subm itto you the Treaty be-
                 tween the Government of the United States of America and the
                 Governm ent of the Federative Republic ofBrazil on M utual Legal
                 Assistancein CriminalM atters(tftheTreat/'),signedatBrasiliaon
                 October 14, 1997.l recom mend that the Treaty be transmitted to
                 the Senatefor its advice and consentto ratifcation.
                   The Treaty covers mutual legal assistance in crim inal m atters.
                 In recent years,sim ilar bilateral treaties have entered into force
                 with a number of countries.This Treaty contains many provisions
                 similarto those in the othertreaties.
                   The Treaty will enhance our ability to investigate and prosecute
                 a variety of offenses,including dnzg trafficking, terrorism , other
                 violentcrim es,and m oney laundering and other white-collarcrime.
                 The Treaty is designed to be self-executing and will not require
                 new legislation.
                   Article 1 containsa non-exhaustive listofthe majortypesofas-
                 sistance to be provided under the Treaty,including taking the tes-
                 tim ony or statem entsofpersons' ,providing documents,records,and
                 item s'
                       ,locating or identifying persons or item s;serving docum ents',
                 transferring persons in custody for testimony or other purposes;
                 executing requests for searches and seizures;assisting in proceed-
                 ings related to im mobilization and forfeiture of assets,restitution,
                 and collection of fines;and providing any other form ofassistance
                 notprohibited by the lawsofthe Requested States.
                    The scope ofthe Treaty includes not only the investigation,pros-
                 ecution, and prevention of crim inal offenses, but also forfeiture,
                 restitution,and collection offines,and other proceedings related to
                 crim inal m atters,w hich m ay be civil or adm inistrative in nature.
                 M oreover,assistance under the Treaty isto be provided w ithoutre-
                 gard to dual crim inality (i.e.,whether the conduct involved would
                 constitute an offense underthe lawsofboth States).
                   Article 1(4) states that the Parties recognize the particular im -
                 portance of combating serious crim inal activities,including m oney
                 laundering and the illicit trafficking in firearm s,am m unition,and
                 explosives,and that the Parties shallprovide each other with as-
                 sistance with respect to such m atters.However,the paragraph was
                 notintended by the negotiatorsto require the Partiesto give prior-
                 ity or special treatm ent to assistance with respectto the specified
                 offenses; accordingly, the paragraph expressly provides that the
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                                                 W

                 comm itm entto provide assistance regarding such offenses im poses
                 no limitation on the scope ofassistance established under the Arti-
                 cle.
                   Article 1 also states explicitly that the Treaty is intended solely
                 for m utuallegal assistance betw een the Parties.The Treaty provi-
                 sions shallnotgive rise to a righton the partofany private person
                 to obtain,suppress,or exclude any evidence,or to impeded the exe-
                 cution ofa request.
                   Article 2 provides for the establishment of CentralAuthorities
                 and definesthe CentralAuthoritiesfor purposesofthe Treaty.For
                 the United States, the Central Authority shall be the Attorney
                 General or a person designated by the Attorney General. For
                 Brazil,the CentralAuthority shallbe the M inistry ofJustice.The
                 Aziicle provides that the Central Authorities shall m ake and re-
                 ceive requests pursuant to the Treaty,and that the CentralAu-
                 thorities shall comm unicate directly with one another for purposes
                 ofthe Treaty.
                    Article 3 sets forth the circum stances under w hich the Central
                 Authority of the Requested State m ay deny assistance under the
                 Treaty.A request may be denied ifit relates to a military offense
                 that would not be an offense under ordinazy czim inal law; if its
                 execution wouldprejudicethesecurity orsimilaressentialinterests
                 ofthe Requested State;or ifthe requestis not made in conform ity
                 with the Treaty.
                   Before denying assistance underArticle 3,the CentralAuthority
                 ofthe Requested State is required to consultw ith its counterpart
                 in the Requesting State to consider whether assistance can be
                 given subjectto such conditions asitdeemsnecessary.Ifthe Re-
                 questing State accepts assistance subject to conditions,it is re-
                 quired to com ply with them .If the Central Authority of the Re-
                 quested State denies assistance,it must inform the Central Au-
                 thority ofthe Requesting State ofthe reasonsfor thedenial.
                   Article 4 prescribes the form and contents ofrequests under the
                 Treaty, specifying in detail the inform ation required in each re-
                 quest.The Article provides that requests for assistance shallbe in
                 writing except that the CentralAuthority of the Requested State
                 m ay accept a requestin another form in urgentsituations.In such
                 cases,unless the CentralAuthority of the Requested State agrees
                 otherwise,the request must br confirmed in writing within thirty
                 daysthereafter.Unless otherwlse agreed,allrequestsand support-
                 ing docum ents shallbe in thelanguage ofthe Requested State.
                   A rticle 5 requires that the CentralA uthority of the Requested
                 State prom ptly execute requests or, when appropriate, transmit
                 them tothe authority havingjurisdiction todoso.TheArticle pro-
                 vides that the com petent authorities ofthe Requested State shall
                 do everything in their power to execute a request.The Courts of
                 the Requested State shall issue subpoenas, search warrants, or
                 otherorders necessary to executethe request.
                   The CentralAuthority ofthe Requested State must make al1nec-
                 essary arrangementsfor and m eetthe costs ofrepresentation ofthe
                 Requesting State in any proceedingsarising outofa requestfor as-
                 sistance pursuantto the Treaty.Under Article 5(3),requests are to
                 be executed in accordance with the laws ofthe Requested State ex-
                 ceptto the extentthatthe Treaty providesothezw ise.However,the
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                                                 Wl
                 method ofexecution specised in the requestis to be followed except
                 insofar as itisprohibited by the lawsofthe Requested State.
                   Ifthe CentralAuthority ofthe Requested State determines that
                 execution ofa requestwould interfere with an ongoing crim inalin-
                 vestigation,prosecution,or proceeding in that State,it m ay post-
                 pone execution or,after consultationswith the CentralAuthority of
                 the Requesting State,im pose conditions on such execution.Ifthe
                 Requesting State accepts assistance subjects to such conditions,it
                 m ustcom ply w ith them .
                   Aziicle 5(5)further requires the Requested State,ifso requested
                 by the Requesting State,to use itsbest effoz'ts to keep consdential
                 a request and its contents.Ifthe requestcannot be executed with-
                 outbreaching such confidentiality,the CentralAuthority ofthe Re-
                 quested State m ustso inform the CentralAuthority oftheRequest-
                 ing State. This provides the Requesting States with the oppor-
                 tunity to decide whether to pursue the request or to withdraw it
                 in orderto m aintain confidentiality.
                    Finally,Article5 requires the CentralAuthority ofthe Requested
                 State to respond to reasonable inquiries by the CentralAuthority
                 of the Requesting State concerning progress toward execution of
                 the request;to promptly inform such CentralAuthority ofthe out-
                 come of the execution of the request; and,if the execution ofthe
                 request is denied, delayed, or postponed,to inform such Central
                 Authority ofthe reasonstherefor.
                    Article 6 apportions betw een the tw o States the costs incurred in
                 executing a request.It provides thatthe Requested State shallpay
                 all such costs,except for the following item s,which shallbe paid
                 by the Requesting State: fees of expert witnesses, the costs of
                 translation,interpretation,and transcription, and the allowances
                 and expenses related to the travelof persons pursuant to Articles
                  10 and 11.
                    Article 7 provides that the CentralAuthority of the Requested
                 State m ay request thatthe Requesting State not use any informa-
                 tion or evidence obtained under the Treaty in any investigation,
                 prosecution,or proceeding otherthan thatdescribed in the request
                 withoutthe prior consentofthe CentralAuthority ofthe Requested
                  State.The CentralAuthority ofthe Requested State m ay request
                 that inform ation or evidence furnished under the Treaty be kept
                 consdentialor be used only subject to term s and conditions it m ay
                 specify.Ifthe R equesting State acceptsthe inform ation or evidence
                 subject to such conditions,it shall comply with the conditions.
                 These lim itations on use to notpreclude a constitutionally required
                 disclosure or use ofinform ation in a crim inalprosecution.Advance
                 notice by the Requesting State ofsuch disclosure oruse isrequired.
                 Once inform ation or evidence hasbeen m ade public in the Request-
                 ing State in a m anner consistentw ith the other provisions of the
                 Article,no further lim itationson use apply,and the inform ation or
                 evidence m ay thereafter be used for any purpose.
                   Article 8 provides that a person in the Requested State from
                 whom evidence is required pursuant to the Treaty shall be com-
                 pelled,if necessary,to appear and testify or produce docum ents,
                 records,or item s.The Article requires the CentralAuthority ofthe
                 Requested State,upon request,to inform the Requesting State in
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                 advance aboutthe date and place ofthe taking oftestim ony or evi-
                 dence:
                   Artzcle 8(3)also requires the Requested State to permitthe pres-
                 ence ofpersons designated in the request during the execution of
                 the request,and to allow such persons to present questions to be
                 posed to the person giving the testim ony or evidence.Article 8(4)
                 provides that,in the event that a person whose testimony or evi-
                 dence is being taken asserts a claim of im m unity,incapacity,or
                 privilege under the laws ofthe Requesting State,the testim ony or
                 evidence shallnonetheless be taken and the claim m ade known to
                 the Central Authority of the Requesting State so that the claim
                 m ay beresolved by the authoritiesofthatState.
                  Finally,Article 8(5) provides a m echanism for authentication of
                 docum entary evidence produced pursuantto thisArticle.A form for
                 use regarding business records is included as an appendix to the
                 Treaty (Form A). Records authenticated by m eans of such form
                 shallbe adm issiblein evidence in the Requesting State.
                   Article 9 requires thatthe Requested State provide the Request-
                 ing State with copies ofpublicly available records in the possession
                 of authorities in the Requested State.The Requested State may
                 further provide copies ofany records,including docum ents orinfor-
                 m ation in any form ,that are in the possession of authorities in
                 that State,but that are not publicly available,to the sam e extent
                 and under the same conditions as such copies would be available
                 toitsown law enforcementorjudicialauthorities.However,theRe-
                 quested State has the discretion to deny such requests entirely or
                 in part.Such official records may be authenticated by the official
                 in charge of m aintaining them through the use of Form B ap-
                 pended to the Treaty.Documents authenticated through the use of
                 such form shallbe adm issible in evidence in the Requesting State.
                   Azticle 10 provides a m echanism for the Requesting State to in-
                 vite the voluntary appearance in its territory of a person located
                 in the Requested State.The Requesting State is required to indi-
                 cate the extent to which the expenses of the person willbe paid.
                 The CentralAuthority ofthe Requested State is required to invite
                 the person t: appear and prom ptly to inform the Requesting State
                 ofthe person'sresponse.
                   Article 10 further provides thatthe CentralAuthority ofthe Re-
                 questing State has discretion to dqtermine that a person appearing
                 in thatStatepursuanttothisAztlcleshallnotbe subjecttoservice
                 ofprocess,detained,or subjected toany restriction ofperson:llib-
                 erty by reason of acts or convictions thatpreceded the person's de-
                 parture from the Requested State:The CentralAuthority ofthe Re-
                 questing State is required to notzfy the Requested State's Central
                 Authority whether such safe conduct shall be extended.Any safe
                 conductprovided for by thisArticle shallcease seven days afterno-
                 tification by the CentralAuthority of the Requesting State to its
                 counterpaz. tin the Requested State thatthe person'spresenceisno
                 longer required.The safe conduct shall also cease if the person
                 leavesthe Requesting State butvoluntarily returnsto it.An exten-
                 sion ofup to fifteen days m ay be granted by the Requesting State's
                 CentralAuthority in itsdiscretion.
                    Article 11 provides forthe temporary transfer of a person in cus-
                 tody in the Requested State to the Requesting State for purposes
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                of assistance under the Treaty,provided that the person in ques-
                tion and the CentralAuthorities ofboth States agree.For exam ple,
                a witness incarcerated in the Requested State may be transferred
                to the Requesting State to have his deposition taken in the pres-
                ence of the defendant.The Article also provides for the transfer of
                a person in the custody of the Requesting State to the Requested
                 State for purposes ofassistance under the Treaty,subjectto the
                consent of the person and the CentralAuthorities of both States.
                For exam ple, a defendant in the Requesting State may be trans-
                ferred for purposes of attending a witness deposition in the Re-
                quested State.
                  Article 11(3) further establishes the express authority and the
                 obligation ofthe receiving Stateto maintain the person transferred
                 in custody unlessotherwise authorized by the sending State.Itfur-
                 ther obligates the receiving State to return the person to the cus-
                 tody of the sending State as soon as circum stances perm it or as
                 otherwise agreed by both States,and the sending State need not
                 initiate extradition proceedings for return of the person trans-
                 ferred.The person transferred shallreceive credittoward service of
                 the sentence im posed in the sending State for tim e served in the
                 custody ofthe receiving State.
                   Article 12 requires the Requested State to use its best effor'
                                                                                ts to
                 ascertain the location or identity ofpersons or items specified in a
                 request.
                   M icle 13 obligates the Requested State to use its bestefforts to
                 effectselwice ofany docum ents relating,in w hole or in part,to any
                 request for assistance under the Treaty.A request for the service
                 ofa docum entrequiring a person to appear before an authority in
                 the Requesting State mustbe transm itted within a reasonable time
                 prior to the scheduled appearance.The Requested State isrequired
                 to return proof of serdce in the m anner specified in the request.
                   Article 14 obligates the Requested State to execute requests for
                 search,seizure, and delivery of any item to the Requesting State
                 ifthe requestincludestheinformationjustifying such action under
                 the lawsofthe Requested State.The Article providesthat,upon re-
                 quest,every officialofthe Requested State who has had custody of
                 a seized item shallcertify,through the use ofForm C appended to
                 the Treaty,the description of the item,the continuity of its cus-
                 tody,and the integrity of its condition.No furthqr certification is
                 required,and the ceztlficate shallbe adm issible evldence in the Re-
                 questing State.Article 14 further providesthatthe CentralAuthor-
                 ity ofthe Requested State m ay lmpose upon the Requesting State
                 terms and conditionsdeemed necessary to protectthird party inter-
                 estsin item sto betransferred.
                   Article 15 requires the CentralAuthority ofthe Requested State,
                 upon request of its counterpart in the Requesting State,to return
                 as soon as possible any docum ents,records,or item s furnished to
                 itin execution ofa requestunder theTreaty.
                   Article 16 providesthat,ifthe CentralAuthority ofone Party be-
                 com es aware of proceeds or instrum entalities of offenses that are
                 located in the territoz'y of the other Party and may be forfeitable
                 orotherwise subjecttoseizureunderthelawsofthatParty,itmay
                 soinform the CentralAuthority ofthatParty.IfthatParty hasju-
                 risdiction,it m ay present this information to its authorities for a
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                 determ ination w hether any action is appropriate under its law s,
                 and such authorities shall,through their CentralAuthority,notify
                 the otherPaz'  ty ofany action taken.
                    A rticle 16 also obligates the Pazties to assist each other,to the
                 extent perm itted by their respective law s,in proceedings relating
                 to forfeiture of proceeds and instrum entalities of offenses,restitu-
                 tion to victim s ofcrim e,and the collection offines imposed as sen-
                 tences in crim inalproceedings.Such assistance m ay include action
                 to tem porarily im m obilize the proceeds or instrumentalities of
                 crim e pending further proceedings. A Party having custody over
                 proceeds or instrumentalities of offenses is required to dispose of
                 them in accordance with its laws.Either Party m ay transfer al1or
                 part ofsuch assets,or the proceeds oftheir sale,to the other Parsy,
                 to the extent perm itted by the transferring Party's laws and upon
                 such term s asitdeem s appropriate.
                    Article 17 states that assistance and procedures set forth in the
                 Treaty shall not prevent either Party from granting assistance to
                 the other Paz' ty under otherapplicableinternationalagreem ents,or
                 through the provisions of its nationallaws.The Parties m ay also
                 provide assistance to each other through the provisions ofany bi-
                 lateral arrangem ent,agreem ent,or practice that m ay be applica-
                 ble.
                    Article 18 provides that the Central Authorities of the parties
                  shallconsult,attim es m utually agreed upon,to prom ote the m ost
                 effective use ofthe Treaty,and m ay agree on such practicalm eas-
                 ures as m ay be necessary to facilitate im plem entation ofthe Trea-
                 ty.
                    Article 19 states that the Treaty shall apply to requests pre-
                  sented afterthe date ofits entry intoforce,even iftheactsor om is-
                  sionsconstituting the offense occurred before thatdate.
                   Article 20 provides thatthe Treaty is subjectto ratification and
                 shallenter into force upon the exchange ofthe instrum ents ofrati-
                 fication.The Article also provides thatthe Parties m ay am end the
                 Treaty by m utual agreem ent, and any such am endm ent would
                 enter into force upon a written exchange of notifications between
                 the Parties,through the diplomatic channel,that al1 dom estic re-
                 quirem ents for its entry into force have been com pleted.Article 20
                 further provides that either Party m ay term inate the Treaty by
                 w ritten notice to the other Party.Such term ination would take ef-
                 fectsix m onthsfollowing the date ofnotification.
                    A Technical Analysis explaining in detail the provisions of the
                 Treaty is being prepared by the U nited States negotiating delega-
                 tion,consisting ofrepresentatives from the Departm ents ofJustice
                 and State,and w illbe transm itted separately to the Senate Com -
                 m ittee on Foreign Relations.
                   The DepartmentofJusticejoinsthe DepartmentofStatein rec-
                 omm ending approval of this Treaty by the Senate as soon as pos-
                 sible.
                   Respectfully submitted.
                                                         M ADELEINE AI, BRIGHT.
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                                         TRFM Y M TWEEH
                          THE GOVERM NT OF THE W ITED STATES OV W RICA
                        THE G0VM*uuVH+ OF THE FEDEAATIVE REPUBLIC QP BRKZIL
                               w                ON
                            MUTUAL LEGAL ASSISTANCZ ZN CRIMINAL MNTTKRS




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                                            ThwT.* oF copTRxvs

                    Artiela 1                               Seope of Aaliltlnce
                    Artielo i                               Clntral Authorities
                    Article   3                        Limitmtionl on Alliltanc.
                    Articl.   4                   Tor- *n2 Content* of Requeltl
                    Artici.   5                            Ex*cution oe Mequeltl
                    Artiele   6                                            Colt*
                    Amtiele   7                               Li-itation. on U**
                    Articl.   e                            Teltimony or Evidenoœ
                                                          ia kh* Reqael*-H Stltœ
                    Articl.   9                                 Officiai Rleordl
                    Artiel.   10              T*@t*'--ay in the R*qu*@tin? :tak*
                    xrtiele   11                 Trœnlf*r ok Pœrlona in Cultody
                    Articl*   12                      Tna-tion or Identieieœtion
                                                             of Plrlon. ox 1*---
                    Artiele   13                            S*rvioe oe Doc*v tl
                    Arkille   14                              dwarch œnd Seixurl
                    Artiole   15                                 Return of 1*---
                    Article   16           Allàltlnc* in Forfeituze Prooe*dingl
                    xrticle   17              Coapatibility with Oth*r Treltill
                    Artàci.   IQ                                    Conlultation
                    Articl.   19                                     Appiicœtion
                    Articlœ   20                Rwtt'icltion, Entry Into Forc*g
                                                                 *nd T*rminœtion



                    Fora A C*rtificake of Auth*ntkciky of Buline*. Recoxdl
                    Foxx M Atteltation oe Authenticity of Foreign Pabiic Do-o-œntl
                    Form c Attestation With R*lplct to S*ix*d Artigl*l
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                                                   3




                         The Government of the United States of America and the
                   Government of the Federative Republic of Braxily

                         Desiring to improve the pffectivenesa of the law enforcement
                   authoritiea of 10th countriea in th. inveatigation, prosacution ,
                   and prevention of crime through cooperation and mutual legal
                   assistance in criminal matters

                         Have agreed as foliows:
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                                                     4

                                                 Artiel. 1
                                            scope of Assigtance

                         1. The Parties ahall provide mutual assistance/ in
                   accordanee witb the proviaiona of tbis Tteaty, in connection with
                   the investigation, prosecution: ahd prevention of offenses and in
                   procledings related to criminal mattora.

                              Assistance shall include:
                               (*)   taking the testimony or atatemonts of persons;
                              (b)    providing doeumentsy rocordl, and itema;
                               (c)   looating or identifying persons or itema;
                               (d)   serving documents;
                               (e)   transferring persons in custody for teatimony or
                                  other purposea;
                              (f) executing requesta for searches and seixures;
                              (g) asaisting in proçeedings related to immobilization
                                  and forfeiture of alsaka; rostitution; collection
                                     of fines; lnd
                                     *ny other form Qf asaistance not prohibited by the
                                     laws of the Requested state.

                         3.   Assistanca shall be provided without regard to whether
                   the conduct that ia the aubject of the investigation, prosecution,
                   or proceeding would be punishable under the legislation in b0th
                   states.
                         4. The ParEies rocognize the particular importence of
                   combating aerioue criminal activitill, including money laundering
                   and the illicit trafficking in firearms, Ammunition and exploaives.
                   Without limitation to the scope of asaistance established in Ehis
                   Article, the Parties shalt provide eacb other assiatance on such
                   matters in accordance with this Treaty.
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                                                    5

                        5. Thil Treaty ia intended soAely for mutual leqal
                  lysiatance betweqn the Partiea. The provisiona of this Treaty
                  ahall not give rise to a right on the part of any private person to
                  obtainJ supprgga, or oxeiude any ovidence# or to impedo the
                  execution of a request.
                                                 Article 2
                                            Central Authorities

                         1- Each Party shall designate a Central Authority to make
                   and receive requests purauant to this Treaty .

                             For the United Stateâ of America: khe Central Autbority
                  shall be the Attorney Genpral or a person deyignated by the
                  Attorney Genoral . For the Federative Republic of Brazil # the
                  Central Authority shall be the Miniatry of Justice ,

                         3.   Tbe Central Authoritiea shall communicate directly with
                   one another for the purpoges of this Treaty .

                                                Article 3
                                        Limitationa on Assistance

                              The Contral Authority of the Requested State may deny
                   assistance ir:
                              (a) the requeat relatas to an offense under military
                                  law which wouid not be an offense under ordinary
                                    eriminal law;
                              (b) the axecution of th* roquest would prejudice the
                                    security or similar essentiai interests of the
                                    R/quested State; or
                              (c) the roqueyk is not made in conformity wikh the
                                    Troaty.

                         2. Before denying assistance pursuant to thia Articie tha
                   Central Authority of the Requested State shall consult with the
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                                                   6

                   Central Authority of *he Roquelting Stat. to consider whlther
                   assigtance can be qivqn subjact to such conditions aa it deema
                   neceaaary. If the Requesting State aceepta œssistance subject to
                   these conditions it shall comply with the conditiona.

                              If the Central Authority of the Rûquested State denies
                   assistance, it sball inform the Clntral Authority of the Rmqueating
                   State of the reasons for th* denial.

                                                Articl. 4
                                      Form and Contents of Requeatl

                              A request for aasistancg shall be in writing except that
                   the Central Authority of tho Requ*atld Stœte may accept a roquest
                   in another form in urgent situationl. In any such clse, if th*
                   requost is not in writing, it shail b. confirmed in writing within
                   thirty days thereafter uniesg th* Central Auehority of the
                   Requeated State agrees othorwiae. The requeat shall bo in khe
                   language of the Requested State unleaa otherwise agreed.

                         2.   The request shall inciude the rollowing :

                               (a# the name of the authority conducting the
                                   tnvestigatioql proseeution ê or proceeding to wbich
                                   the requeat relates;
                               (b) a description of the subjeet matter and nature of
                                   the investigation# prosecution r or proceeding,
                                   including, to th. extent known, the specific
                                   criminal offqnles khat relate to the matter;
                               (c) a deacription of the evidenae, infommxtion, or
                                    other assiatance aought; and
                               (d) a atatement of th. purpoae for which the evidence,
                                   information, or othar assistance is sought.
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                         3.   To th* extent neceaalry and poasiblee a request ahall
                   aiso inelude :
                              (a) information on the identity and loeation of any
                                    person from whom qvidence is sought;
                              (b) information on the identity and location of a
                                    person to be served, that peraon's relationahip to
                                    the procaedinga, œnd the manner in which service is
                                    to be mwde ;
                              (e) information on *h* id*ntity and wherlabouts of a
                                    plraon to be Iocated;
                               (d) a precise description of the plaee or person to be
                                    searched and of the items to be seized ;
                               (e) a description of the manner in which any testimony
                                    or statement is to b/ takqn and recorded;
                               (f) a list of qulstions ko bo aakod of a witness;
                               (g) a description of any partieular procedure to be
                                    followed in expeutinq tb* request;
                               (h) information as to the ailowances and expenaes to
                                    which a person asked to appear in the Requqsting
                                    State will be entitled; and
                                    any other infor-Ation that may bq brought to the
                                    attention of khe Requested State to facilitate the
                                    execution of the request .

                                                 Articlq 5
                                           Execution of Rlqueats

                               The Central Authority of khe R*quested State lhwll
                   promptly execute th* request or, when appropriate, sball tranamit
                   it to tha officials having authority to do so. The compltent
                   officiala of tho Roquestmd state ahall do evorything in their power
                   to executo the reqaeat. The Courta of thm Requested State ahall
                   issue subpoenas , search warrants , or other orders necessxry to
                   execute the request .
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                              The Central Authority of the Kequested State shall mak.
                   all neceaaary arrangementa for .nd meet the costs of the
                   representation in the Requested State of the Requesting State in
                   any proceedings ariaing out of a request for assistance pursuant to
                   this Treaty .

                         3. Requests shall be executed in accordanc. with the laws
                   of the Requested state except to tb* exEent that thia Treaty
                   provides otherwise. Bowever, the method of execution specified in
                   the request shall be followed @xcept insofar as it is prohibited by
                   the laws of the Requeated State .

                         4. If the Central Authority of the Requested State
                   determines that execution of a request would intarfere with an
                   ongoing criminal investigation prosecution, or proceeding in tbat
                   State, it may postponl execution/ or make oxecution subject to
                   conditions determined to be necessary after consultations with the
                   Central Authority of the Requesting State. If the Requeating State
                   accepts the assistanee subjeet to the conditions it shall comply
                   with the conditions .

                         S . The Requested State lhall uae it> bost efforta to koep
                   confidential a request and its contents if sueb confidentiality ia
                   requested by the Central Authority of the Requesting State. If the
                   request cannot b. axecuted without breaching such confidontiality:
                   the Central Authority of th* Rlquosted State shall so inform the
                   Central Authority of the Requesting State# whiuh shall then
                   determine whether the request should nevertheless be executed.

                          6. The Centrak Authority of the Requested Stlte shall
                    reapond to roalonabie tnquixàel by the Cgntral Authority of the
                    Requopting State concerning progreae toward execution of the
                    request.
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                 '




                           7. The c@ntrll Authority de kh@ Requesked Stat. shall
                     promptly inform the Central Authority of the Requesting State OE
                     the outcome of the execution of the request . If the execution of
                     the request ts denied delayed or postponed , the Central Authority
                     of tho Requeated State shall inform the Central Authority of the
                     Requesting State of th@ reasons for tho donial# dllay, or
                     postponement.

                                                 Articll 6
                                                   Coata

                           The Requested State shall pay al1 costs relating to the
                     execution of the request# exclpt for the fees of oxpert witnessosJ
                     the colts of translation , interpretation# and tranacription# and
                     th@ allowances and expenaea related to trlval of peraons pursuant
                     to Articles 10 and 11f which fels, costa, allowances, and expenses
                     shall be paid by tbe Requesting State .

                                                  Aricle 7
                                             Limitations on Use

                                The Central Authority of the Requeatqd Stat. may rlquast
                     that the Requestàng State not ua@ any information or evidlnco
                     obtained under this Treaty in '
                                                   any investigation, prosecution, or
                     proceeding other than that describod in the request without the
                     prior conaent of the Cpntral Authority of the Requelted state. In
                     such caaes, the Requeating State shall comply with the conditions.

                           2. Th* central Authority oe the Requeltod State may roquest
                     that information or mvidence furnilhgd under this Treaty b. k*pt
                     confidential or be uaed only aubjeet to terml and conditiona it may
                     apecify. If the Requesting State aca*ptl th@ ànfor-xtion or
                     evidonce subjeet to auch conditions, tho Requesting Stat. shall
                     comply with the conditions.
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                         3- Nothing in thia Axticie lhall preciude the ua* or
                   discloaur. of information to the extent that there ia an obligation
                   to do so undlr the constitution of the kequeating State in a
                   criminal prosecution. The Roquesting State shall notify tbe           1
                   Requested State àn advance of any such proposed disclosure.

                              Info*-xtion or lvia-nce that h*s been mad0 public in the
                   Requosting State in a mannlr consistent wi.th paragraph 1 or 2 may
                   thereafter be used for any purpose.

                                                Article 8
                               Tostimony or Evidenc. in the Requelted State

                              A persoh in the R/quested state from whom testimony or
                   evidenc. ia rlquested purauant ko khil Treaty shall be compelted,
                   if necessary, to appear and teatify or produce documents# records #
                   or items.

                         2 . Upon requost, the Central Authority of the Requested
                   State shall furnish informxtion in advanc. about the date and place
                   of the taking of the testimony or evidence pursuant to this
                   Article .

                         3. The Roquestad State shaïl plrmit the presence of such
                   perlons as specified in th. tlqueat during the execution of the
                   request, and shall allow lueh persona ko present qulstions to ba
                   asked of the person giving the testimony or evidence.

                          4. If the peraon rqfqrrad to in paragraph 1 asaerts a claim
                   of N'--unity, incapacity, or priviloge under the laws of the
                   Requosting Statey tho taatx'-nny or evidenc. shall nonetheleas be
                   taken and the ciaim mado known to the Central Authority of tha
                   Requesting State so that th* olaim =ay be resolved by the
                   authorities or that State .
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                         5.   Evtd.ne. produc.d àn th. p-qu*.ted state pur*uœat to
                   Yhi* Xrkicl. or whioh ka th. subjmct of teltimony **V*R under thil
                   Articl* m*y be authontkcated by an attlstltàon, àncluding, in the
                   eale of bua:nesa rocords, authlntieatton in the manner indteated iu
                   Form A appondad to thss rrlaty . oocumonts œuthenticated By For- A
                   shœll be admissksl. aviaonco in th. Rlquelting Stat*.

                                                 Axtioz. 9
                                              ofeketal Rlcoraa

                         1. The Rwquesm-a stlt. lhlll provide th@ R@que*tin? âtœte
                   eith copïea of publàcly avœàlable reoordl. inriudin? docu-ent* or
                   ineoe--tion kn any ror., in thi posslgsion of authoritie. in thœ
                   Raqulatoa stato .

                         2- Th* Requested stœte aay provlde c/pàel of any recorda,
                   including doeu-onts ox kneov-.tsos ks .ny form. that .r. ia thœ
                   po*l**lion of authorktàls in that stat/, but thœt œr* not publicly
                   œvlilable. to th. ..-- extlat and und.r the s--- conditioal .a much
                   nopies Yould b* Avaiilbl. to 1t. own la- lnforc---nt or judicàel
                   luthoritiea. zh. Rlquastœd stat. aay kn kts discretion dlny a
                   r*qullt pursulnt to this paravraph lnttrely or in pœrt.

                              oefkeial records produoed pvrmuant to thi* Articl. may
                   be wuthentieatoa by th. oeeieiaz in charg. of aaiptaàning the.
                   through th* uao or porm B applnd.d to this Treœty. No furtber
                   œuthœnticlkion shalz b. nlclssary . Do-.-œnts authlntîoated und.r
                   thi* plrlqraph ahall b. aaoàssibl. lvidlnoe in th. Requlsting
                   stlte.

                                                   xrticz. 1:
                                       veatx'--ny kn th. Rlqueatinc stat/

                         1- when tho Rlqallting state rlqvewts th* appeœrano* of a
                   perlon in thœt stxtl, th. p-qulxt.d state **a1l invite th* perlon
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                                                     12

                     to appear befor. th. lppropriate authority in th* Mequ*lting ltlte.
                     Th* Requeating Statp lhall indicat. the extent to which th.
                     explnl*a will be paid. The Clntrwl Authority of tb@ Raquestœd
                     Stat. shall promptly inform th@ Clntral Autbority of the Requestàng
                     Stlte of the rlapons. oe the plrson.

                           2. Th* Cwntral Authority of the Requesking Stake may; in
                     it* dilerltion, detlrmin. that œ pex*on app*aring in th* Requelting
                     Stwta pur*uant io thil Article mhœll not be lubject to lw6viee of
                     procllaz or be detained or euh:ec*œa to œny rlltràetion of p*raonal
                     l4W-rty: by rlalon of Kny xcta or convictioal that preold.d his
                     d*partur. froœ the Requelt.d State. The Centrll Autbority of the
                 '   Rgqulsting State shall promptly inform the Clntral Authority of th@
                     Rlquglted Stat. whether such aafe conduct shall b. extendœd.

                                Th* lafe coqduct provid.d for by this Article shall
                     c*as. leven dayl after th* Central Authority of th* Rgqullting
                     Stlte ha@ notifild th* Cgntrll Authoxity of th* Rlqulstod state
                     th*k the perlon'l ptel*no@ i, no lonF@r requirld, or when th.
                     plrlon? having left th* Requelting State, voluntariiy rœkurns. Th.
                     Central Authority oe the Requeating statl may, in ita dilcretion,
                     *xtend Ehil period for up to fiftl*n day..

                                                  Artici* 11
                                        Tranle@r of Perlons in Custody

                           1. A plrlon in kh. cuatody of the Raqueakld Statl whole
                     preslnc. in th@ Roqueating Stœtl il aoughk for purpolg. oe
                     laaistanc. under khil Treaty whlll be tranaferred from the
                     Requeated state to the Rlqu*lting State for that purpoa. ie the
                     perlon conaeatl aad kf th* EeaKrAI Authoritial of both Statœa
                     agrle .
                           2. K p*rlon in th* çuatody of thœ Rœqu@lting State whos.
                     prlllnc. in th* RequllG-M Sta:e i* Koueht eor puxpolel of
                     œlyàatancw under this Tr*aky oay be tranlfwrrœd fro. the Requelting
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                   Statl to the Raqulatld Stlt. àf the peraon conlentl *nd if the
                   Centrœl Authoritila of b0th States agre..

                             For purposel of thil Article:

                              (a) the receiving State shall have the authority and
                                   th. obligxtio'n to kp*p th* perlon tranlfarred in
                                   cuakody unteal otherwise authoriled by tha a/nding
                                   Stakl;
                              (b) the rle@iving Stake ahall return th/ pœraon
                                   tranlegrred ko khe custody of kh@ londing Skat. œs
                                   goon aa ciroumltlncal pormit or aa'otherwise œgreed
                                   by both Clntral Authoritila;

                              (ch the reeliving Stltp shwtl not require th. sending
                                   stat. to initiat. extrwdition procledings for th.
                                   rpturn oe the perlon tranaferred; and

                              (d) the peraon tranaflrred lhlll recliv. cr-aik for
                                   aervic. of th. l*nt*açe imposed in th* aending
                                   Stak. for ti-. llrved in th@ cuskody of th@
                                   teoeiving Stat..

                                               Artiol. 12
                             Location or Idlltificakiqn of Perlona or Itams

                         Th. R*queatad Skate shœll u@* it> balt efforta to llcertain
                   th@ looakion or idpnkity of personl or i+*-* apecified in the
                   tlqu*lt.

                                               Artiole 13
                                          service of Da-x-ents

                         1 . The Requeated state lhall use it> b*at efforts to lffect
                   xervio. of wny docum@nt relatipg: in whol. or in pœrtz to .ny
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                                                   14


                   requeat for asaigtano. axde by tb. Rpqullting State undor the
                   proviatons of thia Ttmaty .
                                                                                         !
                                                                                         I
                                                                                         !
                         2. The Requestinc State shall trlnsmit any request for the
                   aervice oe a anoumlnt requiring the appearanc. of a plrson before
                   an authority in the Requpating Stat* wikhin a rlasonabl. tiae prior
                   to the scheduled wppeatane..

                         3. The R@qlll+-a State shlll rlturn w proof of llrviee in
                   the manner lp*cifild in th* rlqullt.

                                               Articl. 14
                                           Sllrch œnd Swixur.

                         t. The Kwquested state lhall *xecute a requeat for th.
                   searchz aeizur@, and deliv*ry of any itlm to th@ Requesting state
                   if tho rgquwst includ.a th* info---tion juatifying such action
                   under th@ ilwa of th* R*qu**+*x St.k..

                         2. Upon r*qulst, lvpry officiai who has custody of a leixld
                   i*-- yhall olrtify, through th* u.. of 'orm C appgndpd to thil
                   Trgaty, the contiauity of cuatody: the d*loription of the itlm: and
                   th@ int*grity of it> londition. No furthqr certification shall be
                   r/quired'. Form C lhœll be aA-q'ssibl. lvidanc. in tha Requeating
                   State.

                         3. The C*atrll Authoriky of the Requlated stwte may requira
                   that th* Requ@ating Stak. agr.. ko th. tarml and conditions dlemld
                   to bp neeelaary to protlct third plrky intlr*sts in the it*m ko be
                   tranafarred .
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                                                      15

                                                  Articl. 15
                                                Return of It*aa


                  j         The Central Authority of the Requested State may roquire that
                      the Central Authority of the Requesting State return, as soon as
                      poasible# any documents: recorda, or items furnished to it in
                      execukion of a request under this Troaty .

                                                  Articl. 16
                                     Aslistanc. in Porfeiture Proceedings

                            1. If the Central Authoriky of one Party becomea awlre of
                      proceeds or instm .-entaliti*a of offensea that ar* located in the
                      territory of th* other Party and may b. eorfeitabl. or otherwiae
                      subject to seixure undlr the lawa of that Party, it may ao inform
                      th* Central Authority of thq othlr Party. If tbat other Party has
                      jurisdiction in thia regard, it may preaent this information to its
                      authorities for a determination whether any action is appropriate.
                      Thlse authorikies ahall iaaue thoir dlciaion in accordanc. with the
                      lawa of thlir aountry, *nd lhall, through their Central Authority?
                      report to th@ othlr Parky on th. aotion taken.

                            2. The Partils shall aagist each other to the extlnt
                      permitted by their reapective lawa in proceedings reiating to the
                      forfeiture of the proceeds and instnAmentœlitiea of offenaes/
                      r*stitution to khe victima of crimg, .nd the collection of fines
                      impoaed œa lentencea in criminal prolecutions. Such aasistance may
                      include action to temporarily N'--obilixe the proceeds or
                      inatrumentalities pending furth/r proceedings.

                                 The Party that has cuatody over proceeds or
                      inatrumentalàtàea of offensas shall dispoao of them in accordance
                      with &ts laws . Either Party may transfer aII or part of such
                      aaaatl, or th* proceeds of their sale to the other Party , to the
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                                                    16
                '


                    extent plrmitted by the transferrtng Party's laws and upon such
                    terms aa it deems appropriate .
                                                                                          1
                                                                                          1
                                                xrticle 17                                i
                                                                                          l
                                    Compatibility with Other Treaties

                         Assistance and procedures >ot forth in this Treaty ahail not
                    prevent either Party from grlnting assistance to the other Party
                    through the provisions of other applioable international
                    agreements, or through the proviaionl of its national llwa. The
                    Parties may alao provide agsiatance to elch other pursuant to any
                    bilatpral arvangemant, aqrglment, or praetice tbat may be
                    applicable.

                                                Article 18
                                               Consultation

                          The Central Authoritiea of tbe Parties yhall conault , at
                    timea mutually agreed to by them, to promote the moat effectivo u>e
                    of this Treaty. The Central Authoriti@s may also agree on such
                    practical measures aa may be neceasary to flcilitate the
                    impiementation of this Troaty .

                                                Article 19                                ?
                                                Applicltion

                          This Treaty ahakl apply to any request preaented after the
                    date of its entry into forcef even if the acts or omiasiona
                    constituting the offense occurred hefor: that date.

                                               Article 20
                              Ratification Entry Into Force and Termination

                          1. This Treaty shlll be lubject to ratiricltion, and the
                    instruments of ratification ahall be exchanged as aoon aa poasiblg.
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                                                             17
                 d
                 *
                 '




                                        This Treaty shall onter into force upon the exchange of
                     , the instruments of ratification .
                     '
                     i                                                                            1
                                                                                                  11
                                                                                                   .



                                    The Partiea may amend this Treaty by mutual agreement,
                         and any such amandment shall lnter ànto force upon a written
                         exchange of notificationl between the Parkiel, through the
                         diplonatic channel that all domlstic r*quirlments for ita lntry
                         into force hav. blln completed.

                                    Either Party may terminate this Treaty by meana of
                         written notice, through the diplomatic chasnet, to the other Party .
                         Tarmination ahall take effect six months following the date of
                         notification .


                               IN WITNESS WHEREOF; the undersigned, being duly authorized by
                         their reapectiv. Governmenta: have signed khis Treaty .

                               DONE at Brasiliar
                                                    in duplicake, tbia    lép-k-       day of
                         October, 1997, in the Engliah and Portuguole languagls, b0th texts
                         being mqually authentic.
                                                                                   %
                                '- z,
                                        -   () v
                         FOR THE GOVERHMEHT OF THE         FOR TRE GO      NT OF THE
                         UNITKD STKTES OF hMRRICA:         FEDERKTIVE REPUBLIC OF BRAZIL :
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                                                     18




                                      FoRM l (For Use With Articl. 8)                      j
                                      CERTIFICATE OF AUTHENTICITY OF
                                             BUSINESS RECORDS

                        1,                                    , attesk on penalty of
                                         (Name)
                   criminal punishment for false statement or false attestation that
                   I ap employed by

                               (Name of Business from which documents are sought)
                   and that my official title is

                        I furkher state that each of the recorda attached hereto is
                   the original or a dupkicate of tbe original records in the
                   custody of
                                 (Name of Business from which documents are sought)
                        I further state that:
                        A)     such records were made, at or near the time of the
                               occurrence of the matters set forth: by (or frow
                               information transmitted by) a person with knowledqe of
                               those matters;
                        B)     such records were kept tn the course of a regularly
                               conducted business activiky)
                        C)     the business activity Kade such records as a reqular
                               practicel and
                        D)     if such record is not the originalf such record is a
                               duplicate of the original.

                             Signature                              Date

                        svorn to or affirmed before me.                                t
                                                                  (Name)
                   a                                                          this
                             (notary public, judge, judicial officer, etc.)
                                    day of                .             19     .
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                                                   19




                                   FORM B (For Use With Article 9)
                                                                                          I
                        ATTESTATION OF AUTHENTICITY OF FOREIGN PUBLIC DOCUMENTS


                        Iy                                   y attest on penalty of
                                       (Naxe)
                   criminal punishment for false statewent or attlstation that
                   ># position with the Governwent of
                                                                   (country)
                   is                                   . and that in that position I
                             (official Tytle)
                   am authorized by the law of
                                                             (country)
                   to attest that the documents attached and described below are
                   true and accurate copies of original official records which
                   are recorded or filed in                                           e
                                                        (Name of offlce or Agency)
                   whtch is a government office or agency of                          #
                                                                         (Country)

                   Description of Docuxentsl


                                                        (signature)

                                                         (Title)

                                                         (Date)
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                                                    20




                                                                                       !
                                                                                       i
                                   PORM c (For Use With Article l4)
                        ATTESTATION WITH RESPECT TO SEIZED ARTICLES


                        1,                                    y attest on penalty of
                                       (uamaj
                   criminal punishment for false statements ot attestation that
                   my posttion with the covernment of
                                                                   (Country)
                   is                                    . I receàved the articles
                              (Officlal Title)
                   listed below from
                                                         (Nane of Person)
                   on                                , at      i
                                   (Date)                           (P1ace)
                   in the following condition:




                   Description of Article:

                   changes in condition vhile in wy custody:


                   official seal

                                                  (siqnature)

                                                    (Tàtle)

                                                    (Date)
